     6:15-cv-02475-MGL         Date Filed 10/13/15     Entry Number 26        Page 1 of 13




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

Roger DeBenedetto, individually and on   )
behalf of all others similarly situated, )
                                         )
                      Plaintiffs,        )
                                         )            AMENDED COMPLAINT
v.                                       )              Class/Collective Action
                                         )           (JURY TRIAL DEMANDED)
Thaxton Investment Corporation, Southern )
Management Corporation, Southern Finance )
of South Carolina, Inc. d/b/a Southern   )           C.A. No. 6:15-cv-02475-MGL
Finance, Quick Credit, Covington Credit, )
SoCo Finance,                            )
                                         )
                      Defendants.        )
____________________________________)

       Plaintiff Roger DeBenedetto, individually and on behalf of all similarly situated employees

(“Plaintiffs”), bring this Class/Collective action lawsuit against Thaxton Investment Corporation,

Southern Management Corporation, Southern Finance of South Carolina, Inc., d/b/a Southern

Finance, Quick Credit, Covington Credit, and SoCo Finance (collectively “Defendant”); seeking

to recover for Defendant’s violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.,

and the South Carolina Wages Act, S.C. Code Ann. §§ 41-10-10 to 110., and/or equitable remedy

of unjust enrichment. Plaintiff, on behalf of himself and all others similarly situated, allege as

follows:

                               PARTIES AND JURISDICTION

       1.      Plaintiff Roger DeBenedetto is a resident of the State of South Carolina, County of

Greenville.




                                                1
     6:15-cv-02475-MGL        Date Filed 10/13/15      Entry Number 26       Page 2 of 13




       2.     Pursuant to 29 U.S.C. § 216(b), Plaintiff has consented in writing to be a party to

the FLSA claims asserted in this action, and Plaintiff’s signed consent form is attached. (See

Exhibit A – ECF No. 1-1).

       3.     That, upon information and belief, the defendants Thaxton Investment Corporation

subsiduary, Southern Finance of South Carolina, Inc., and Southern Management Corporation,

d/b/a Southern Finance, Quick Credit, Covington Credit, and SoCo Finance (collectively “SMC”)

are South Carolina corporations maintaining offices and agents and otherwise doing business in

the County of Greenville, State of South Carolina.

       4.     SMC is a Greenville, South Carolina based small loan consumer finance company

with over 270 branch locations throughout the Southeast. The company operates under four

different brand names to include: Covington Credit, Quick Credit, Southern Finance, and SoCo

Finance.

       5.     In 2012, SMC sold a controlling interest in the company to Milestone Partners LTD,

a Pennsylvania corporation. Despite such sale, SMC is the true operator of company in that they

maintain a complete level of control over the company’s chain of operations to include:

supervisory authority over all of the company’s employees, the company’s daily operations, their

ability to make hiring and firing decisions, and their authority over employee wage payment

methods.

       6.     The defendants Thaxton Investment Corporation, the parent company to Southern

Finance of South Carolina, Inc., and Southern Management Corporation, d/b/a Southern Finance,

Quick Credit, Covington Credit, and SoCo Finance are a single enterprise under the FLSA because

the entities perform related activities through unified operation and common control for a common

business purpose.



                                                2
     6:15-cv-02475-MGL           Date Filed 10/13/15       Entry Number 26         Page 3 of 13




       7.       During the relevant time period, Defendant employed individuals who handled,

sold, or otherwise worked on goods or materials that have been moved in, or produced for,

commerce.

       8.       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 215(a)(3) and 216(b).

       9.       Plaintiffs also assert a state law cause of action pursuant to South Carolina Wage

Payment Act and a state common law cause of action for Unjust Enrichment.

       10.      This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367 because those claims derive from a common nucleus of operative facts.

       11.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) because a

substantial part of the acts or omissions giving rise to these Plaintiffs’ claims occurred within

Greenville County and because this Court has personal jurisdiction over one or more corporate

Defendants.

                                     SUMMARY OF CLAIMS

       12.      Plaintiffs bring this action as a collective action to recover unpaid wages, pursuant

to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201 et seq. (“FLSA”).

       13.      In particular, Plaintiffs bring this suit on behalf of the following similarly situated

persons:

            All current and former employees who have worked for the Defendant in the
            capacity of an Assistant Manager within the statutory period covered by this
            Complaint, and who elect to opt-in to this action pursuant to FLSA, 29 U.S.C.
            § 216(b) (“Collective Class”).

       14.      In addition, Plaintiffs also bring this action as a state class action to recover unpaid

wages pursuant to South Carolina Payment of Wages Act, S.C. Code Ann. §§ 41-10-10 to 110

(“PWA”).

                                                   3
     6:15-cv-02475-MGL         Date Filed 10/13/15      Entry Number 26       Page 4 of 13




       15.     Defendant has willfully committed widespread violations of the FLSA and South

Carolina Wages Act by engaging in a pattern, practice, and policy of failing to pay employees

proper overtime wages.

       16.     Specifically, Plaintiffs bring this suit on behalf of a class of similarly situated

persons composed of:

          All current and former Assistant Managers who have worked for Defendants
          in the state of South Carolina during the statutory period covered by this
          Complaint (“SC Class”).

       17.     Plaintiffs allege on behalf of the Collective Class and SC Class that Defendants

violated Federal and South Carolina state laws by, inter alia:

               (i)     improperly calculating overtime wages for all hours worked in excess of

                       forty (40) hours in a workweek; and

               (ii)    improperly denying to pay all wages that have become due and owed.

                                 FACTUAL ALLEGATIONS

       18.     Plaintiff Roger DeBenedetto was hired by Defendant as an Assistant Branch

Manager at the company’s Greenville, South Carolina location and was shortly thereafter

transferred to the company’s Spartanburg, South Carolina location.

       19.     Plaintiff’s primary duties of employment include processing credit loan

applications and performing duties related to collecting past due amounts from customers on

outstanding loans.

       20.     At all relevant times, Plaintiff and the other members of the Collective Class have

been similarly situated and have had substantially similar job requirements and job duties.

Moreover, they have been subject to Defendant’s common decisions, policies, practices,

procedures and rules that willfully violate the FLSA.



                                                 4
     6:15-cv-02475-MGL         Date Filed 10/13/15       Entry Number 26        Page 5 of 13




         21.   At no time did Plaintiffs or the Collective Class ever perform any executive,

administrative, or professional duties that would weigh in favor of an exempt salaried employee.

         22.   Nor could Plaintiffs or the Collective Class be classified as independent contractors;

and therefore, not subject to the FLSA’s minimum wage and overtime requirements.

         23.   The Plaintiffs and the Collective Class worked for Defendant on a full time and

continuing basis and did not sell or advertise their services to the general public or work as

contractors for anyone other than the above named Defendant.

         24.   Plaintiffs and Collective Class had no control over the manner and method by which

they were paid.

         25.   Defendant retained the right to discharge Plaintiff and Collective Class without

cause.

         26.   Plaintiff and Collective Class had no opportunity for profit and no risk of loss.

         27.   Plaintiff and Collective Class are clearly not exempt from the FLSA’s minimum

wage and overtime requirements.

         28.   At all times relevant herein, Defendant paid Plaintiff, and all those similarly

situated an hourly wage of Eleven Dollars and Fifty Cents ($11.50) for every hour worked under

forty hours in a workweek.

         29.   For hours worked over forty hours in a workweek, Defendant paid Plaintiff and all

those similarly situated an hourly wage of one-half the employee’s regular rate of pay. The regular

rate was calculated by adding together the employee’s pay for that pay period and dividing the

total by the number of hours the employee worked in that pay period.




                                                 5
     6:15-cv-02475-MGL          Date Filed 10/13/15      Entry Number 26        Page 6 of 13




          30.   Pursuant to the FLSA, employees must receive overtime pay for hours worked in

excess of forty in a workweek of at least one and one-half times their regular rates of pay and not

one-half of their regular rates of pay.

          31.   At the time of Plaintiff’s hiring he was informed that he would be paid and hourly

rate of $11.50 and would receive approximately half of that rate pursuant to what was referred to

as Chinese Overtime. Chinese Overtime is an alias for the “fluctuated workweek method” of

payment set forth in the FLSA. (See Exhibit B – ECF No. 1-2).

          32.   Under the fluctuating workweek method of payment as set forth in the FLSA, a

person:

            employed on a salary basis may have hours of work which fluctuate from week
            to week and the salary may be paid to him pursuant to an understanding with
            his employer that he will receive such fixed amount as straight time pay for
            whatever hours he is called upon to work in a workweek, whether few or many.
            29 C.F.R. § 778.114(a).

          33.   Under such payment scheme, the employee must be compensated “for all overtime

hours worked at a rate not less than one-half his regular rate of pay.” Id.

          34.   However, before an employer may apply the fluctuating workweek method, four

conditions must be satisfied: (1) the employee’s hours must fluctuate from week to week;

(2) the employee must receive a fixed salary that does not vary with the number of hours worked

during the week (excluding overtime premiums); (3) the fixed amount must be sufficient to provide

compensation every week at a regular rate that is at least equal to the minimum wage; and (4) the

employer and employee must share a “clear mutual understanding” that the employer will pay that

fixed salary regardless of the number of hours worked. 29 C.F.R. § 778.114(a), (c).

          35.   Plaintiff asserts that Defendant failed to comply with nearly every requirement laid

forth in the above mentioned regulation. As a demonstration of a clear violation of the



                                                  6
     6:15-cv-02475-MGL         Date Filed 10/13/15      Entry Number 26           Page 7 of 13




aforementioned subparagraph (2), attached is a pay check stub that reflects payment as an hourly

rate and not a fixed salary. (See Exhibit C – ECF No. 1-3).

       36.     Plaintiff asserts that Defendant required him to work set hours for an hourly wage

and that it was only after he began his employment that Defendant informed him that he was being

paid “Chinese Overtime.” Specifically, Plaintiff asserts that his hours did not fluctuate week to

week and that he was not paid a fixed salary; therefore, there was no “clear mutual understanding”

of such.

       37.     Defendant’s actions were not in good faith or based upon a reasonable belief that

they were not violating applicable laws.

                             FIRST CLAIM FOR RELIEF
              FAIR LABOR STANDARDS ACT OVERTIME WAGE VIOLATIONS
                                  (Collective Class)

       38.     Plaintiffs, on behalf of themselves and the Collective Class, re-allege and

incorporate by reference the paragraphs above as if they were set forth herein.

       39.     At all relevant times, Defendant has had gross revenues in excess of $500,000.00.

       40.     At all relevant times, Defendant has been, and continues to be, an employer

engaged in interstate commerce within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

       41.     At all relevant times, Defendant has employed, and/or continues to employ each of

the Collective Class members within the meaning of FLSA.

       42.     At all relevant times in the period encompassed by this Complaint, Defendant has

and maintains a willful policy and practice of refusing to pay the proper overtime compensation

for all hours worked in excess of forty (40) hours per workweek.




                                                7
     6:15-cv-02475-MGL         Date Filed 10/13/15         Entry Number 26      Page 8 of 13




       43.     Defendant has violated, and continues to violate, the FLSA, 29 U.S.C. §§ 201 et

seq. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the

meaning of 29 U.S.C. § 255(a).

       44.     Due to Defendant’s FLSA violations, Plaintiffs, on behalf of themselves and the

members of the Collective Class, are entitled to recover from the Defendant compensation for

unpaid wages, an additional equal amount as liquidated damages, and reasonable attorneys’ fees

and costs of this action pursuant to 29 U.S.C. § 216(b).

                               SECOND CLAIM FOR RELIEF
                        SOUTH CAROLINA PAYMENT OF WAGES ACT
                                       (SC Class)

       45.     Plaintiffs, on behalf of themselves and the members of the SC Class, re-allege and

incorporate by reference the paragraphs above as if they were set forth again herein.

       46.     At all relevant times, Defendant has employed, and/or continues to employ,

Plaintiffs and each of the SC Class Members within the meaning of the South Carolina Payment

of Wages Act, S.C. Code Ann. §§ 41-10-10 to 110 (“PWA”). Plaintiffs and the SC Class members

are “employees” and are not free from the control and direction of Defendant.

       47.     Plaintiffs and the SC Class worked for Defendant with the clear understanding and

agreement by Defendant that their compensation would be consistent with all applicable laws,

including federal and state wage and hour laws.

       48.     Pursuant to the PWA, “[a]n employer shall not withhold or divert any portion of

the employee’s wages unless the employer is required or permitted to do so by state or federal law.

. . .” S.C. Code Ann. § 41-10-40(C).

       49.     Further, “any changes [to] the terms [of wages] must be made in writing at least

seven calendar days before they become effective.” S.C. Code Ann. § 41-10-30(A).



                                                  8
     6:15-cv-02475-MGL            Date Filed 10/13/15    Entry Number 26        Page 9 of 13




       50.      Accordingly, Plaintiffs and the members of the SC Class are entitled to receive all

compensation due and owing to them.

       51.      As a result of Defendant’s unlawful policies and practices as set forth above

Plaintiffs and the members of the SC Class have been deprived of compensation due and owing

which Defendant promised to pay in their commitment to abide by applicable wage and hour laws

and in violation of the PWA’s mandate that no wages be withheld or diverted unless required or

permitted under applicable law.

       52.      Defendant has set and withheld wages of the Plaintiffs and SC Class members

without providing advance notice of such amounts and absent any lawfully sufficient reason for

such conduct.

       53.      As a direct and proximate result of Defendant’s conduct, Plaintiffs and the SC Class

have suffered substantial losses and have been deprived of compensation to which they are entitled,

including monetary damages in the amount of three (3) times the unpaid wages as well as costs

and reasonable attorneys’ fees.

                         THIRD CLAIM FOR RELIEF
             SOUTH CAROLINA COMMON LAW – UNJUST ENRICHMENT
                                (SC Class)

       54.      This Third Claim is brought in the alternative to the Second Claim (violation of the

PWA), to the extent that Defendant disavows any agreement to pay SC Class in a manner

consistent with state and federal law. Plaintiffs, on behalf of themselves and the members of the

SC Class, re-allege and incorporate by reference the paragraphs above as if they were set forth

again herein.

       55.      Plaintiffs and members of SC Class were employed by Defendant within the

meaning of South Carolina Common Law.



                                                 9
    6:15-cv-02475-MGL          Date Filed 10/13/15       Entry Number 26       Page 10 of 13




       56.     At all relevant times, Defendant maintains a policy of denying their Assistant

Manager wages that, by law, and/or equitably belong to the Assistant Managers.

       57.     During the class period covered by this Complaint, Defendant had, and maintains,

a willful and deceptive payment policy that masks itself as a fluctuating workweek method, a legal

exception to the FLSA overtime law, when in fact it is clearly not such a payment method.

       58.     Defendant has received financial benefits of a payment method that has both hourly

pay and a compensation rate for overtime pay at one-half the regular rate as opposed to one and

one-half the regular which rendered it inequitable and unjust for Defendant to retain such benefits.

       59.     Defendant was unjustly enriched by subjecting Plaintiffs and other similarly

situated Assistant Managers to such an unlawful pay policy.

       60.     As a direct and proximate result of Defendant’s unjust enrichment, Plaintiff and

members of the SC Class have suffered an injury and are entitled to reimbursement, restitution,

and disgorgement from Defendant of the benefits conferred by Plaintiff and SC Class.

                    FOURTH CLAIM FOR RELIEF
  PLAINTIFF DEBENEDETTO’S INDIVIDUAL CLAIM FOR FLSA RETALIATION

       61.     On June 19, 2015, Plaintiff filed a complaint alleging all the aforementioned

allegations and claims for relief under the FLSA, SC Payment of Wages Act, and Unjust

Enrichment.

       62.     Plaintiff was terminated from his employment with Defendants on June 19, 2015

and was given no cause or reason for said termination.

       63.     In notes taken on June 15, 2012, four days prior to Plaintiff’s termination and the

filing of his complaint, Plaintiff’s supervisor expressed his knowledge of the pending lawsuit by

writing “FWW – ALLEGES CLASS ACTION LAWSUIT.” (See Exhibit D – Supervisor’s Notes).




                                                10
     6:15-cv-02475-MGL           Date Filed 10/13/15       Entry Number 26      Page 11 of 13




        64.      FWW is a common acronym for the FLSA’s Fluctuating Workweek method which

forms the basis of Plaintiff’s claims for relief in his initial complaint.

        65.      Upon information and belief, Plaintiff was terminated for asserting his rights under

the FLSA, mainly his right to file a complaint in the United States District Court of South Carolina

alleging he was paid improperly under the FLSA.

        66.      The FLSA’s 29 U.S.C. § 215(a)(3) deems it unlawful for an employer “to discharge

or in any other manner discriminate against any employee because such employee has filed any

complaint or instituted or caused to be instituted any proceeding under or related to this chapter,

or has testified or is about to testify in any such proceeding, or has served or is about to serve on

an industry committee.”

        67.      As a direct and proximate result of this unlawful discharge under 29 U.S.C. §

215(a)(3), Plaintiff is entitled under § 216(b) to recover from Defendant such legal and equitable

relief as may be appropriate to effectuate the purpose of § 215(a)(3), including without limitation

payment of wages and benefits lost and an additional equal amount as liquidated damages. In

addition, under 29 U.S.C. § 216(b) Plaintiff is entitled to reasonable attorneys’ fees and costs.

                                      PRAYER FOR RELIEF


        WHEREFORE, Plaintiff, individually and on behalf of himself and all other similarly

situated members of the Collective Class and members of the SC Class, prays that the Court grant

the following relief:

              A. Designation of this action as a collective action on behalf of the Collective Class,

                 and prompt issuance of notice pursuant to 29 U.S.C. § 216(b), apprising class

                 members of the pendency of this action, and permitting them to assert timely FLSA




                                                   11
6:15-cv-02475-MGL       Date Filed 10/13/15      Entry Number 26        Page 12 of 13




        claims in this action by filing individual Consents to Sue pursuant to 29 U.S.C. §

        216(b);

     B. Designation of the action as a class action under Fed. R. Civ. P. 23 on behalf of the

        SC Class;

     C. Appointment of the undersigned as Class Counsel;

     D. Find that Defendant’s FLSA violations were willful;

     E. An injunction against Defendant and its officers, agents, successors, employees,

        representative and any and all persons acting in concert with it, as provided by law,

        from engaging in each of the unlawful practices, policies and patterns set forth

        herein in the future;

     F. For disgorgement of revenues, profits and money unjustly earned from the unlawful

        practices;

     G. An award of unpaid minimum wages to Plaintiffs and the members of the Classes;

     H. An award of unpaid overtime wages to Plaintiffs and the members of the Classes;

     I. Restitution of wages and gratuities improperly retained by Defendant;

     J. An award of liquidated damages to Plaintiffs and members of the Classes;

     K. An award of treble damages to Plaintiffs and members of the Classes to the extent

        permitted by S.C. Code Ann. § 41-10-80(C);

     L. An award of costs and expenses of this action together with reasonable attorneys’

        fees; and

     M. Such other and further equitable relief as this Court deems just and proper.



                         [SIGNATURE PAGE FOLLOWS]



                                          12
    6:15-cv-02475-MGL         Date Filed 10/13/15   Entry Number 26   Page 13 of 13




                                          Respectfully Submitted,

                                          S/ John G. Reckenbeil
                                          John G. Reckenbeil, Fed I.D. No. 7671
                                          Lawrence E. McNair, III, Fed I.D. No. 11723
                                          LAW OFFICE OF JOHN RECKENBEIL, LLC
                                          215 Magnolia Street (29306)
                                          Post Office Box 1633
                                          Spartanburg, South Carolina 29304
                                          Phone: (864) 582-5472
                                          Fax: (864) 582-7280

Dated: October 2, 2015
Spartanburg, South Carolina




                                             13
